              21-10780-mew               Doc 10        Filed 08/19/21 Entered 08/20/21 00:09:33                   Imaged
                                                     Certificate of Notice Pg 1 of 4
Information to identify the case:
Debtor 1
                       John F. Brown                                           Social Security number or ITIN   xxx−xx−0498
                                                                               EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                       Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                            EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Southern District of New York

Case number:          21−10780−mew


Discharge of Debtor(s) and Order of Final Decree                                                                              12/15


A petition under title 11, United States Code was filed by or against the Debtor(s) on 4/23/21; an order for
relief was entered under Chapter 7; no order denying a discharge has been granted.

It appearing that the Debtor(s) is entitled to a discharge and the estate of the above named Debtor(s) has
been full administered.


IT IS ORDERED:

          • The Debtor(s) is granted a discharge under 11 U.S.C. § 727.

          • Yann Geron is discharged as the Trustee of the Debtors estate and the bond is cancelled.

          • The chapter 7 case of the above−named Debtor(s) is closed.


             8/17/21                                                  By the court: Michael E. Wiles
                                                                                    United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order grants a discharge to the person named above.              This order does not prevent debtors from paying any debt
It does not dismiss the case, and it does not determine how           voluntarily or from paying reaffirmed debts according to the
much money, if any, the trustee will pay creditors.                   reaffirmation agreement. 11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any attempt to                  Most debts are discharged
collect a discharged debt from the debtors personally. For            Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors              liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact              was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order         Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                 Bankruptcy Code and was later converted to chapter 7,
fees.                                                                 debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against           In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was        protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have               spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.

                                                                                    For more information, see page 2 >




                                     Discharge of Debtor(s) and Order of Final Decree                            page 1
       21-10780-mew          Doc 10     Filed 08/19/21 Entered 08/20/21 00:09:33        Imaged
                                      Certificate of Notice Pg 2 of 4




Some debts are not discharged                          Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:         agreement are not discharged.

     ♦ debts that are domestic support                 In addition, this discharge does not stop
       obligations;                                    creditors from collecting from anyone else who is
                                                       also liable on the debt, such as an insurance
                                                       company or a person who cosigned or
     ♦ debts for most student loans;                   guaranteed a loan.


     ♦ debts for most taxes;
                                                        This information is only a general summary
     ♦ debts that the bankruptcy court has              of the bankruptcy discharge; some
       decided or will decide are not discharged        exceptions exist. Because the law is
       in this bankruptcy case;                         complicated, you should consult an
                                                        attorney to determine the exact effect of the
                                                        discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




                         Discharge of Debtor(s) and Order of Final Decree               page 2
                21-10780-mew                 Doc 10        Filed 08/19/21 Entered 08/20/21 00:09:33                                      Imaged
                                                         Certificate of Notice Pg 3 of 4
                                                              United States Bankruptcy Court
                                                              Southern District of New York
In re:                                                                                                                 Case No. 21-10780-mew
John F. Brown                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0208-1                                                  User: Admin                                                                 Page 1 of 2
Date Rcvd: Aug 17, 2021                                               Form ID: 155new                                                           Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 19, 2021:
Recip ID                 Recipient Name and Address
db                     + John F. Brown, 250 South End Avenue, #2H, New York, NY 10280-1075
smg                      N.Y. State Unemployment Insurance Fund, P.O. Box 551, Albany, NY 12201-0551
smg                    + New York City Dept. Of Finance, Office of Legal Affairs, 375 Pearl Street, 30th Floor, New York, NY 10038-1442
smg                    + United States Attorney's Office, Southern District of New York, Attention: Tax & Bankruptcy Unit, 86 Chambers Street, Third Floor, New
                         York, NY 10007-1825
7835173                + DR. ERIC STEIBLE, DC, 11040 SANTA MONICA, SUITE 404, LOS ANGELES, CA 90025-7547
7835174                + EDFINANCIAL SERVICES L, 120 N SEVEN OAKS DRIVE, KNOXVILLE, TN 37922-2359
7835177                + MANHATTAN MINI STORAGE, 100 WASHINGTON ST, NEWARK, NJ 07102-3024
7835179                + ROB O'CONNOR, C/O VELOCITY INVESTMENTS, 1800 ROUTE 34 N, WALL, NJ 07719-9168
7835182                + TEACHERS FED CREDIT UN, 102 MOTOR PKWY, HAUPPAUGE, NY 11788-5109
7835183                + TEXWOOD INVESTMENT INC, C/O CUSHMAN & WAKEFIELD, PO BOX 9334, NEW YORK, NY 10087-2334
7835184                  TIME INVESTMENT CO, 929 E NORTH RIVER, WEST BEND, WI 53095
7835185                + US DEPT ED, PO BOX 5609, GREENVILLE, TX 75403-5609

TOTAL: 12

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QYGERON.COM
                                                                                        Aug 17 2021 23:08:00      Yann Geron, Yann Geron, Geron Legal Advisors
                                                                                                                  LLC, 370 Lexington Avenue, Suite 1101, New
                                                                                                                  York, NY 10017-6532
smg                       Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Aug 17 2021 18:59:00      New York State Tax Commission,
                                                                                                                  Bankruptcy/Special Procedures Section, P.O. Box
                                                                                                                  5300, Albany, NY 12205-0300
7835169                + EDI: AMEREXPR.COM
                                                                                        Aug 17 2021 23:08:00      AMEX, P.O. BOX 981537, EL PASO, TX
                                                                                                                  79998-1537
7835170                + EDI: CAPITALONE.COM
                                                                                        Aug 17 2021 23:08:00      CAPITAL ONE BANK USA N, PO BOX 31293,
                                                                                                                  SALT LAKE CITY, UT 84131-0293
7835178                + Email/Text: recovery@paypal.com
                                                                                        Aug 17 2021 18:58:00      PAYPAL, CORPORATE HEADQUARTERS,
                                                                                                                  2211 NORTH FIRST STREET, SAN JOSE, CA
                                                                                                                  95131-2021
7835976                + EDI: RECOVERYCORP.COM
                                                                                        Aug 17 2021 23:08:00      PRA Receivables Management, LLC, PO Box
                                                                                                                  41021, Norfolk, VA 23541-1021
7835180                + EDI: RMSC.COM
                                                                                        Aug 17 2021 23:08:00      SYNCB/PPC, PO BOX 965005, ORLANDO, FL
                                                                                                                  32896-5005
7835188                + EDI: VERIZONCOMB.COM
                                                                                        Aug 17 2021 23:08:00      VERIZON, PO BOX 1100, ALBANY, NY
                                                                                                                  12250-0001

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
               21-10780-mew                Doc 10       Filed 08/19/21 Entered 08/20/21 00:09:33                                Imaged
                                                      Certificate of Notice Pg 4 of 4
District/off: 0208-1                                               User: Admin                                                          Page 2 of 2
Date Rcvd: Aug 17, 2021                                            Form ID: 155new                                                    Total Noticed: 20
Recip ID         Bypass Reason Name and Address
7835172                        CUSHMAN & WAKEFIELD
7835176                        HELMUT ERIC STEIBL
7835181                        TEACHERS FED CREDIT UN
7835171          *+            CAPITAL ONE BANK USA N, PO BOX 31293, SALT LAKE CITY, UT 84131-0293
7835175          *+            EDFINANCIAL SERVICES L, 120 N SEVEN OAKS DRIVE, KNOXVILLE, TN 37922-2359
7835186          *+            US DEPT ED, PO BOX 5609, GREENVILLE, TX 75403-5609
7835187          *+            US DEPT ED, PO BOX 5609, GREENVILLE, TX 75403-5609

TOTAL: 3 Undeliverable, 4 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 19, 2021                                        Signature:          /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 17, 2021 at the address(es) listed
below:
Name                             Email Address
Gregory M. Messer
                                 on behalf of Debtor John F. Brown lduc@aol.com NY54@ecfcbis.com;gmesser@messer-law.com,mwilliams@messer-law.com

United States Trustee
                                 USTPRegion02.NYECF@USDOJ.GOV


TOTAL: 2
